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UNITED STATES DISTRICT COURT |
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Western District of Cry » 0 1 3 0 4

MALIK SHAKUR Case No.
Plaintiff,
Request for Jury Trial
v. 28 U.S.C. § 4101
18 U.S.C. § 241
NBC KFOR NEWS 18 U.S.C. § 242
Defendant, 18 U.S.C. § 10
15 U.S.C. § 3503

COMPLAINT FOR A CIVIL ACTION

I. The Parties to This Complaint
A. The Plaintiff
MALIK SHAKUR (Public/Person being Alien/Entity)
1100 NE 16TH
Oklahoma City, OK 73117
405-977-8084
pureegyptian0112@gmail.com

B. The Defendant
NBC NEWS (Private/National Broadcasting Company)
30 Rockefeller Plaza
New York, NY 10112
212-664-4444

privacy@usj.co.jp

Il. Comes Now, Indigenous person Malik of the family Shakur. Entering the court pro-se under 28
U.S.C. § 4101, 18 U.S.C. § 241, 18 U.S.C. § 242 , 18 U.S.C. §10 and resting at 15 U.S.C. § 3503.
Hereby special representation for U.S. citizen entity (Plaintiff’) alien ex-rel [MALIK SHAKUR]. Now |

seeking redress due for intentional injuries prohibited by the farmers of the constitution and it's treaties
with Indians of the nation states.

Ii. (Plaintiff) [MALIK SHAKUR] being a public figure with the title as professional barber brings
forth this libel defamation and civil rights complaint against the(Defendant) for harmful malicious
injuries occurring from a nation wide news broadcasting and printed article reported by journalist
Cassandra Sweetman titled “Metro man accused of stealing thousands from his elderly mother”
posted on March 5, 2019 and updated on November 8, 2019. That news report and publication was
broadcast nation wide without ever once speaking to the (Plaintiff). The (Defendant) painted a false
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light of the(Plaintiff) depriving his entity of procedural due-process. The plaintiff first gain knowledge
of the news broadcasting when he was comforted by his boss at Tinker AFB informing him of the
criminal allegations against him an until that situation was resolved he would be strip of his security
clearance and re-position to lower grade assignment until his charges have been adjudicated. On
September 26, 2019 (Plaintiff) was dismissed of criminal charges of elderly financial exploration
docket IN THE DISTRICT COURT OF CLEVLAND COUNTY under Case No. CF-19-175.
Approximately 30 or more days after the dismissal (Plaintiff) contacted the (Defendant) Oklahoma's
NEWS 4 journalist/report Cassandra Sweetman an asked if she would be willing to reeant her
previously story, but she declined (Plaintiff) request.

(Defendant) added insult to injury on December 28, 2020, when assignment editor with Oklahoma's
NEWS 4 addressing himself by the first name of “Chuck” stated of over the phone when he was asked,
“Why did their reporter publish a story without contacting the victim being (Plaintiff’) to get a factual
story. He stated, “I think we tried but maybe he was in jail.” When asked how did their editor get the
information issue in the editors note published on 11/8/2020 stating, “This case was dismissed due to
the ‘state’s inability to prove each element beyond a reasonable doubt. The state made that
request on 9/26/19.” “Chuck” replied either the victim being (Plaintiff) or his lawyer contacted their
station. “Chuck” then stated, “The victim being (Plaintiff) can file a suit against them, but he don't
stand a chance at winning.” An rather suggested that the (Plaintiff) contact their lawyers an maybe
work something out.

Relief
IV. (Plaintiff) comes now seeking relief in the amount of $50,000,000.00 in debt notes plus punitive
damages for intentional malice joined at the “meeting of the minds” favoring the STATE OF
OKLAHOMA in effort to cover up financial criminology occurring with my mother finances at the
hands of several state employees. The (Defendant) knowingly and intentionally misused their media
platform to expose (Defendant) imagine in a false light in effort to conspired with others privilege to
public media access. The (Defendant) made absolutely no effort to avoid injury by following media
law, ethics and regulations. Showing cause to be in bad faith, premeditated and profitable; lacking
procedural due-process, deprivation of civil liberty rights, interstate commerce and anti trust laws.

Certificate of Service
V. I certify that the attach document(s) was (were) as indicated sent by U.S. Mail on this 29 day of
December, 2020, to:

The Defendant:

NBC NEWS (Private/National Broadcasting Company)
30 Rockefeller Plaza

New York, NY 10112

212-664-4444

privacy@us].co.jp

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Name of Notary Public LEE

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